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                           UNITED STATES DISTRICT COURT

                              DISTRICT OF MINNESOTA

 UNITED STATES OF AMERICA,
                                                     Crim. No. 14-344-4 (JRT/TNL)
                                 Plaintiff,

 v.                                                 ORDER DENYING MOTION FOR
                                                    SENTENCE REDUCTION UNDER
 JAMES LUELLYING CAPEHART, III,                        18 U.S.C. § 3582(c)(1)(A)
                                                     (COMPASSIONATE RELEASE)
                               Defendant.


      Amber M. Brennan, UNITED STATES ATTORNEY’S OFFICE, 300 South Fourth
      Street, Suite 600, Minneapolis, MN 55415, for Plaintiff.

      James Luellying Capehart, III, BOP Reg. No. 20573-041, FCI Oxford, P.O. Box
      1000, Oxford, WI 53952, pro se.

      James Luellying Capehart, III is currently serving a 124-month sentence for

conspiracy to commit bank fraud and aggravated identity theft. Capehart asks the Court

to reduce his sentence and grant him compassionate release or convert the remainder of

his sentence to home confinement due to the ongoing COVID-19 pandemic. Because

Capehart has not established extraordinary and compelling reasons warranting a

sentence modification, the Court will deny Capehart’s Motion for Compassionate Release.

                                    BACKGROUND

      Capehart is currently incarcerated with the Bureau of Prisons (“BOP”) at the

Federal Correctional Institute in Oxford, Wisconsin (“FCI Oxford”). In August 2016,

Capehart pleaded guilty to conspiracy to commit bank fraud and aggravated identity
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theft. (Plea Agree., Aug. 18, 2016, Docket No. 1141). In February 2017, Capehart was

sentenced to a 124-month term of imprisonment. (Sentencing J. at 2, Feb. 21, 2017,

Docket No. 1323.)

       Capehart is 37 years old. Capehart states that he suffers from asthma, obesity,

narcolepsy, cataplexy, and chronic ankle pain, and carries the sickle cell trait. (Resp. Mem.

Opp., July 2, 2020, Docket No. 1792; see also Mem. Opp., Ex. 1 at 1, June 24, 2020, Docket

No. 1791-1.) Since he has been in BOP custody, Capehart has only sought treatment for

ankle pain. (Mem. Opp. at 6–7, 11–12, June 24, 2020, Docket No. 1791.)

       On April 20, 2020, Capehart filed this Motion for Compassionate Release pursuant

to 18 U.S.C. § 3582(c)(1)(A), arguing that he is an over-weight Black male with underlying

health issues that put him at higher risk if he contracts COVID-19. (Mot. Compassionate

Rel., Apr. 20, 2020, Docket No. 1781.) Capehart submitted a request for compassionate

release to the BOP on May 7, 2020. (Mem. Opp., Ex. 1.) The BOP denied the request on

May 13, 2020. (Mem. Opp., Ex. 2, June 24, 2020, Docket No. 1791-2.) The United States

opposed Capehart’s Motion on June 24, 2020. (Mem. Opp.)

                                       DISCUSSION

       The First Step Act, passed in December 2018, amended the procedure for

compassionate release. See First Step Act of 2018, Pub. L. No. 115-391, 132 Stat. 5194,

5239 (2018). It allows defendants, in addition to the Bureau of Prisons (“BOP”), to move

for compassionate release. Id. (codified at 18 U.S.C. § 3582(c)(1)(A)). However, a


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defendant may only bring such a motion “after the defendant has fully exhausted all

administrative rights to appeal a failure of the Bureau of Prisons to bring a motion on the

defendant’s behalf or the lapse of 30 days from the receipt of such a request by the

warden of the defendant’s facility, whichever is earlier.” 18 U.S.C. § 3582(c)(1)(A).

       Once remedies are exhausted, the Court may reduce the defendant’s sentence

after considering the “factors set forth in section 3553(a),” if it finds that “extraordinary

and compelling reasons warrant such a reduction,” and that “such a reduction is

consistent with applicable policy statements issued by the Sentencing Commission.” Id. 1

       The Court recognizes that Capehart suffers from obesity and asthma. The Centers

for Disease Control and Prevention (“CDC”) identify obesity as a condition that increases

the risk of severe illness from COVID-19 and moderate-to-severe asthma as a condition

that might pose an increased risk. 2 The CDC recommends that patients suffering from

obesity continue to take medications for underlying conditions, maintain social distancing

precautions, follow their health plans, and remain in contact with healthcare providers if

they develop symptoms. 3 Similar provisions are included in BOP’s COVID-19 Action Plan



       1
           Pursuant to 18 U.S.C. § 3582(c)(1)(A), Capehart should have fully exhausted his
administrative remedies prior to filing a Motion for Compassionate Release with the Court.
However, because Capehart’s administrative remedies had been exhausted prior to the United
States filing its opposition to his Motion, the United States did not oppose Capehart’s Motion for
Compassionate Release on procedural grounds. (Mem. Opp. at 8–10.) Accordingly, the Court
will review Capehart’s Motion on the merits.
        2
          People with Certain Medical Conditions, Ctrs. For Disease Control and Prevention (Sept.
11, 2020), https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-with-
medical-conditions.html
        3
          Id.
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to minimize the risk of transmission within its facilities. (Mem. Opp. at 2–6.) Though

Capehart states that he has experienced chest pain while in custody (Resp. Mem. Opp. at

1), BOP medical records indicate that Capehart has not sought treatment for symptoms

related to obesity, asthma, or other high-risk conditions during his time in custody. 4

(Mem. Opp. at 6–7, 11.)

       Upon consideration, the Court finds that the health concerns Capehart raises are

not among the conditions identified by the Sentencing Commission justifying

compassionate release. See 18 U.S.C. § 3553(a)(5); U.S.S.G. § 1B1.13. Further, Capehart

has not shown a reduction is warranted based on the relevant sentencing factors under

18 U.S.C. § 3553(a). As such, Capehart has not demonstrated that extraordinary and

compelling reasons warrant a reduction in sentence. 18 U.S.C. § 3582(c)(1)(A)(i).

       Accordingly, the Court will deny Capehart’s Motion for Compassionate Release.


                                               ORDER

       Based on the foregoing and on all the files, records, and proceedings herein,

Defendant’s Motion for Compassionate Release under 18 U.S.C. § 3582(c)(1)(A) [Docket

No. 1781] is DENIED.



       4
          Though Capehart notes that he carries sickle cell trait, he does not claim to suffer from
sickle cell disease or symptoms of sickle cell disease. Sickle Cell Disease, Ctrs. for Disease Control,
https://www.cdc.gov/ncbddd/sicklecell/index.html (last visited Sept. 21, 2020). Accordingly, the
Court will not assess risks associated with sickle cell disease. Similarly, because Capehart has not
presented to the Court any information related to diagnoses of narcolepsy or cataplexy, the Court
has insufficient information to address those conditions as they relate to Capehart’s COVID-19
risk.
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DATED: October 16, 2020                 ______                        _______
at Minneapolis, Minnesota.                        JOHN R. TUNHEIM
                                                      Chief Judge
                                              United States District Court




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